


  Head, Justice.
 

  1. Where pleadings do not make positive allegations, but are ambiguous or couched in alternative expressions, they will, on demurrer, be construed most strongly against the pleader.
  
   Baggett
  
  v.
  
   Edwards,
  
  126
  
   Ga.
  
  463 (55 S. E. 250);
  
   Krueger
  
  v.
  
   MacDougald,
  
  148
  
   Ga.
  
  429 (96 S. E. 867);
  
   Doyal
  
  v.
  
   Russell,
  
  183
  
   Ga.
  
  518, 534 (189 S. E. 32);
  
   Saliba
  
  v.
  
   Saliba,
  
  201
  
   Ga.
  
  577, 583 (40 S. E. 2d 511);
  
   Morris &amp; Eckels Co.
  
  v.
  
   Fulton National Bank,
  
  208
  
   Ga.
  
  222, 225 (65 S. E. 2d 815). Applying this rule in the present ease, the amended petition is sufficient to show an implied intention by Joseph M. Brown to dedicate “Brown Avenue” for public purposes in 1922.
 

  2. “A dedication to public use, is when one being the owner of lands, consents, either expressly or by his actions, that it may be used by the public for a particular purpose.”
  
   Mayor &amp;c. of Macon
  
  v.
  
   Franklin,
  
  12
  
   Ga.
  
  239 (2);
  
   Parsons
  
  v.
  
   Trustees of the Atlanta University,
  
  44
  
   Ga.
  
  529;
  
   Atlanta Ry. &amp;c. Co.
  
  v.
  
   Atlanta Rapid Transit Co.,
  
  113
  
   Ga.
  
  481, 492 (39 S. E. 12);
  
   Hyde
  
  v.
  
   Chappell,
  
  194
  
   Ga.
  
  536 (22 S. E. 2d 313);
  
   Haslerig
  
  v.
  
   Watson,
  
  205
  
   Ga.
  
  668, 679 (54 S. E. 2d 413).
 

  3. Before a municipality can acquire by dedication an easement over land, for use by the public as a street, there must be an acceptance of the dedication by the municipality.
  
   Healey
  
  v.
  
   City of Atlanta,
  
  125
  
   Ga.
  
  736 (54 S. E. 749);
  
   Tift
  
  v.
  
   Golden Hardware Co.,
  
  204
  
   Ga.
  
  654 (51 S. E. 2d 435);
  
   Savannah Beach, Tybee Island
  
  v.
  
   Drane,
  
  205
  
   Ga.
  
  14 (52 S. E. 2d 439).
 

  4. While municipal acceptance of a street may be implied from improvements, longitudinally, on a portion of the street by the municipality pursuant to a dedication
  
   (Norrell
  
  v.
  
   Augusta Ry. &amp;c. Co.,
  
  116
  
   Ga.
  
  313, 42 S. E. 466, 59 L. R. A. 101;
  
   Ellis
  
  v.
  
   Mayor &amp;c. of Hazlehurst,
  
  138
  
   Ga.
  
  181, 75 S. E. 99;
  
   Lastinger
  
  v.
  
   Town of Adel,
  
  142
  
   Ga.
  
  321 (2), 82 S. E. 884) — there can be, however, no implied acceptance of any street over which the corporate authorities have never assumed control. “If the municipality assumed control over a portion only of a street thus laid out, it will not be deemed to have accepted an easement over another portion of the street, as to which there has been no exercise of corporate authority.”
  
   Donalson
  
  v.
  
   Georgia Power &amp;c. Co.,
  
  175
  
   Ga.
  
  462 (6) (165 S. E. 440);
  
   Kelsoe
  
  v.
  
   Town of Oglethorpe,
  
  120
  
   Ga.
  
  951 (48 S. E. 366, 102 Am. St. R. 138);
  
   City of Albany
  
  v.
  
   Lippitt,
  
  191
  
   Ga.
  
  756, 761 (13 S. E. 2d 807);
  
   Adams
  
  v.
  
   Richmond County,
  
  193
  
   Ga.
  
  42, 49 (17 S. E. 2d 184);
  
   Owens Hardware Co.
  
  v.
  
   Walters,
  
  210
  
   Ga.
  
  321, 322 (3) (80 S. E. 2d 285).
 

  (a) Acceptance of the unimproved portion of Brown Avenue is not shown by a prior development of a part extending beyond the petitioners’ property.
 

 
   *332
   
  Argued February 13, 1956
 

  Decided April 9, 1956.
 


   Howell C. Bavan, Ben F. Smith, Faine Chambers, Dewey Smith, Luther C. Hames, Jr.,
  
  for plaintiff in error.
 


   B. M. Beed, Conley Ingram,
  
  contra.
 

  5. While prescription does not run against a municipality as to land which it holds for the benefit of the public
  
   (Mitchell
  
  v.
  
   Mayor &amp;c. of Rome,
  
  49
  
   Ga.
  
  19;
  
   Norrell
  
  v.
  
   Augusta Ry. &amp;c. Co.,
  
  supra;
  
   Wade
  
  v.
  
   Town of Cornelia,
  
  136
  
   Ga.
  
  89, 70 S. E. 880;
  
   Williamson
  
  v.
  
   Souler,
  
  172
  
   Ga.
  
  364, 157 S. E. 463) — it is none the less true that “An easement may be lost by abandonment, or forfeited by nonuser, if the abandonment or nonuser shall continue for a term sufficient to raise the presumption of release or abandonment.” Code § 85-1403.
 

  6. Generally, abandonment is a mixed question of law and fact
  
   (Gaston
  
  v.
  
   Gainesville &amp;c. Electric Co.,
  
  120
  
   Ga.
  
  516, 48 S. E. 188;
  
   Tietjen
  
  v.
  
   Meldrim,
  
  172
  
   Ga.
  
  814, 159 S. E. 231), which applies to a municipal corporation as well as to an individual.
  
   Mayor &amp;c. of Savannah
  
  v.
  
   Bartow Investment Co.,
  
  137
  
   Ga.
  
  198 (72 S. E. 1095);
  
   Mayor
  
  &amp;c.
  
   of Savannah
  
  v.
  
   Barnes,
  
  148
  
   Ga.
  
  317 (96 S. E. 625). The petition alleges that there has been no acceptance by the city of the unimproved portion of Brown Avenue for a period of more than 30 years. There is a presumption of law that the dedication has been declined by the city. In
  
   Still
  
  v.
  
   Mayor &amp;c. of Griffin,
  
  27
  
   Ga.
  
  502, 506, it was held: “Some fifteen or twenty years have elapsed since the dedication was made, and the bill alleges, and the proof shows that no steps have been taken to appropriate a portion of these public lots. The presumption of law is, that tire donations have been declined.” See also
  
   Parsons
  
  v.
  
   Trustees of the Atlanta University,
  
  supra;
  
   Penick
  
  v.
  
   County of Morgan,
  
  131
  
   Ga.
  
  385 (62 S. E. 300);
  
   Mayor &amp;c. of Savannah
  
  v.
  
   Bartow Investment Co.,
  
  supra.
 

  7. The present action was brought against the City of Marietta and its engineer in his official capacity. The rulings herein made are not to be construed as adjudicating the rights of purchasers of lots in the Joseph M. Brown Subdivision not made parties to this action. In this connection see
  
   Ford
  
  v.
  
   Harris,
  
  95
  
   Ga.
  
  97 (22 S. E. 144);
  
   Schreck
  
  v.
  
   Blun,
  
  131
  
   Ga.
  
  489 (62 S. E. 705);
  
   East Atlanta Land Co.
  
  v.
  
   Mower,
  
  138
  
   Ga.
  
  380 (4) (75 S. E. 418);
  
   Hamil
  
  v.
  
   Pone,
  
  160
  
   Ga.
  
  774 (129 S. E. 94);
  
   Aspinwall
  
  v.
  
   Enterprise Development Co.,
  
  165
  
   Ga.
  
  83 (140 S. E. 67);
  
   Tietjen
  
  v.
  
   Meldrim,
  
  169
  
   Ga.
  
  678 (151 S. E. 349);
  
   Harris
  
  v.
  
   Powell,
  
  177
  
   Ga.
  
  15 (169 S. E. 355);
  
   Westbrook
  
  v.
  
   Comer,
  
  197
  
   Ga.
  
  433, 434 (5) (29 S. E. 2d 574);
  
   Thompson
  
  v.
  
   Hutchins,
  
  207
  
   Ga.
  
  226 (60 S. E. 2d 455).
 

  8. The petition, as amended, stated a cause of action, and it was error to dismiss the petition on general demurrer.
 


   Judgment reversed.
  



   All the Justices concur.
  

